 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                    District of Arizona


 Case number (if known):                                          Chapter         11                                                    ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Steak and Stone LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  4 7 – 5        3     1      2   2    2   1
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                   2613 N. Thunderbird Cir
                                                  Number             Street                                     Number        Street


                                                                                                                P.O. Box
                                                   Mesa, AZ 85215
                                                  City                                     State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                   Maricopa                                                     Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)                     steakandstone.com



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




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Debtor      Steak and Stone LLC                                                                                 Case number (if known)
           Name
                                                A. Check one:
   7. Describe debtor's business
                                                ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   7      2   2   5

   8. Under which chapter of the                Check one:
      Bankruptcy Code is the
      debtor filing?
                                                ❑    Chapter 7
                                                ❑    Chapter 9
     A debtor who is a “small business
     debtor” must check the first subbox. A     ✔
                                                ❑   Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔
                                                      ❑    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑    A plan is being filed with this petition.

                                                      ❑    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

   9. Were prior bankruptcy cases filed         ✔ No
                                                ❑
      by or against the debtor within the       ❑Yes.   District                                       When                    Case number
      last 8 years?
                                                                                                              MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.                                                                                           MM / DD / YYYY


  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑Yes. Debtor                                                                   Relationship

     List all cases. If more than 1, attach a             District                                                             When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




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Debtor        Steak and Stone LLC                                                                           Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.
                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ❑ No
      possession of any real          ✔ Yes.
                                      ❑         Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑     It needs to be physically secured or protected from the weather.

                                                ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ✔
                                                ❑      Other Funds in Western Bank Account Subject to Garnishment

                                                Where is the property?
                                                                          Number         Street




                                                                          City                                           State       ZIP Code

                                                Is the property insured?
                                                ✔
                                                ❑     No

                                                ❑     Yes. Insurance agency          Contact name
                                                              Phone




          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑      1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑      10,001-25,000                       ❑    More than 100,000


         15. Estimated assets
                                       ❑    $0-$50,000                      ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                       ❑    $50,001-$100,000                ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                       ✔
                                       ❑    $100,001-$500,000               ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                       ❑    $500,001-$1 million             ❑      $100,000,001-$500 million             ❑       More than $50 billion




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Debtor        Steak and Stone LLC                                                                                   Case number (if known)
             Name



                                            ❑    $0-$50,000                            ✔
                                                                                       ❑   $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million                ❑ More than $50 billion


           Request for Relief, Declaration, and Signatures


WARNING --            Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on 04/07/2023
                                                                 MM/ DD/ YYYY



                                                ✘ /s/ David Storrs                                                     Printed name
                                                                                                                                             David Storrs
                                                    Signature of authorized representative of debtor


                                                    Title                          Owner



         18. Signature of attorney
                                                ✘                         /s/ Jim Gaudiosi
                                                    Signature of attorney for debtor
                                                                                                                       Date 04/07/2023
                                                                                                                                  MM/ DD/ YYYY




                                                     Jim Gaudiosi
                                                    Printed name

                                                     Jim Gaudiosi, Attorney at Law PLLC
                                                    Firm name


                                                     17505 N. 79th Ave Suite 207
                                                    Number          Street


                                                     Glendale                                                          AZ               85308
                                                    City                                                                  State             ZIP Code



                                                     (623) 777-4760                                                         jim@gaudiosilaw.com
                                                    Contact phone                                                           Email address



                                                     031321                                                                 AZ
                                                    Bar number                                                              State




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